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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS




ERIK JOHNSON,
                                                 Case No. 1:22-mc-91079
              Plaintiff/Counterdefendant,        U.S. District Court for the District of Massachusetts

              v.
                                                 Case No. 2:21-cv-00691-DLR
                                                 U.S. District Court for the District of Arizona
PROCTORIO INC.,

              Defendant/Counterclaimant.



                               CERTIFICATE OF SERVICE

       Pursuant to D. Mass. Local Rule 5.2, I hereby certify that on February 19, 2022, I served

a copy of the following documents on counsel for Defendant/Counterclaimant Proctorio, Inc. by

mail to Crowell & Moring LLP, 3 Embarcadero Ctr., 26th Floor, San Francisco, CA 94111:

       •   Fight for the Future’s Motion to Quash or Modify Third-Party Subpoena to Produce
           Documents (Docket No. 1)

       •   Memorandum of Law in Support of Motion to Quash or Modify Subpoena and
           Supporting Declarations and Exhibits (Docket No. 2)

       •   Fight for the Future’s Corporate Disclosure Statement (Docket No. 3)



 Dated: February 19, 2022
                                             /s/ Mason A. Kortz

                                             Mason A. Kortz
                                               Honorific/Pronouns: Mr., he/him or they/them
